           Case 3:12-cr-04886-IEG                       Document 70               Filed 01/29/13                PageID.180            Page 1 of 2


    ~.AO 245B (CASD) (Rev. 1112)   Judgment in a Criminal Case
               Sheet I



                                              UNITED STATES DISTRICT COURllfi '1                                                   29          2=30
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                        v.                                           (For Offenses Committed 0Ufr After November 1,198';"", <,

                      FELIPE LOPEZ-BECERRA (4)                                       Case Number: 12CR4886-IEG
                                                                                     GARY BURCHAM
                                                                                     Defendant's Attorney
    REGISTRATION NO. 35526298

    o
    THE DEFENDANT:
    1?51 pleaded guilty to count(s) THREE OF THE INFORMATION
    o was found guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                          Nature of Offense                                                                              Numbeds)
8 USC 1326                            ATTEMPTED REENTRY OF REMOVED ALIEN (FELONy)                                                               3




        The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o   The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 O Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0                                          are   0 dismissed on the motion ofthe United States.
 1?51 Assessment: $100.00 WAIVED


  181 Fine waived                                   o Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this jUdgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                                12CR4886-IEG
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AO 245B (CASD) (Rev. !l12) Judgment in a Criminal Case
           Sheet 2 --Imprisonment
                                                                                             Judgment - Page _   ...2_ of     2
 DEFENDANT: FELIPE LOPEZ-BECERRA (4)
 CASE NUMBER: 12CR4886-IEG
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         90 DAYS




    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o   The court makes the following recommendations to the Bureau of Prisons:




    o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Da.m.      Dp.m.         on
               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                   -------------------------------------------------------------------------
          o as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.



                                                                RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at _______________________ , with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                      By ________~~~~~~~~~~---------
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                       12CR4886-IEG
